  Case 8:19-cv-00302-AG-KES Document 20 Filed 04/02/19 Page 1 of 1 Page ID #:229

                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

 Case No.       SACV 19-00302-AG (KESx)                             Date      April 2, 2019
 Title          Pritish Vora v. Equifax Information Services, LLC et al




PRESENT:

          HONORABLE ANDREW J. GUILFORD, UNITED STATES DISTRICT JUDGE

         Melissa Kunig                                             Not Reported
         Deputy Clerk                                              Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFF:                     ATTORNEYS PRESENT FOR DEFENDANT:

         None Present                                              None Present

PROCEEDINGS:           (IN CHAMBERS) ORDER DENYING PLAINTIFF’S MOTION FOR
                       EXTENSION OF TIME TO FILE REPORT OF PARTIES' MEETING
                       (F.R.CIV.P 26(F)) (UNOPPOSED) AND REQUEST TO FILE
                       SEPARATELY (OPPOSED) [18]


        The Court is in receipt of Plaintiff’s Motion for Extension of Time to File Report of
Parties' Meeting (F.R.Civ.P 26(f)) (Unopposed) and Request to File Separately (Opposed) filed
on April 1, 2019 [18] as well as a Joint Rule 26(f) Report [19] filed by Defendant Equifax on
April 2, 2019.

      The Court DENIES Plaintiff’s Motion and the Scheduling Conference remains on
calendar for Monday, April 8, 2019 at 9:00 a.m.

         Plaintiff may raise the concerns he outlines in his motion at the Scheduling Conference.




                                                                                     -        :        -
                                                   Initials of Deputy Clerk    mku
cc:




CV-90 (06/04)                            CIVIL MINUTES - GENERAL                                  Page 1 of 1
